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                   THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

BELIA ARLENE OCASIO and EFRAÍN
COLÓN DAMIANI,

                    Plaintiffs,

                       v.                          Civil Action No.

COMISIÓN ESTATAL DE ELECCIONES and                 COMPLAINT FOR
JUAN DÁVILA-RIVERA, in his official                INJUNCTIVE AND
capacity as President of the Comisión Estatal de   DECLARATORY RELIEF
Elecciones,
                    Defendants.


                                   INTRODUCTION
      1.     Puerto Rico’s current early and absentee voting policies will force

senior citizens and those with underlying health conditions to choose between two

irreparable harms in November: violating public health social distancing guidelines

designed to protect them and their loved ones, or foregoing their fundamental right

to vote in the general election.

      2.     Puerto Rico offers very limited alternatives to “in-person, day-of”

voting. The voto adelantado or “early voting”—which occurs in person—is only

allowed for certain categories of individuals, with no exceptions made for senior

citizens. The voto ausente or “absentee voting” (i.e. mail-in), is similarly cabined

and available only for those who reside in Puerto Rico, but happen to be outside of
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the island on the day of the elections for enumerated reasons, such as working or

studying outside of Puerto Rico.

        3.   These restrictions are burdensome under any circumstances, but during

the coronavirus (“COVID-19”) pandemic, Puerto Rico’s early and absentee voting

policies are not merely restrictive; they are dangerous, especially for senior citizens.

Plaintiffs bring this lawsuit in an attempt to protect both their right to vote and their

health, and seek a ruling that the Comisión Estatal de Elecciones de Puerto Rico (the

“Commission”) must allow senior citizens access to early and absentee voting for

the general election in November.

        4.   COVID-19 poses a serious threat to the health of both Americans and

American elections. Puerto Rico is not immune. Puerto Rico currently has a seven-

day average transmission rate of over 500 new confirmed cases a day. Given the

prevalence of COVID-19 on the island, the likelihood that COVID-19 will spread at

Puerto Rico’s voting locations—prime breeding grounds for the virus—is incredibly

high.

        5.   As a result, Puerto Rico’s early and absentee voting policies make it

especially vulnerable to the risk of suppressed voter participation during the current

pandemic. Puerto Rico’s early and absentee voting restrictions require its residents,

including senior citizens and those with underlying health conditions—individuals

most at risk—to violate social distancing protocols and the safety recommendations


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made by the Centers for Disease Control and local governments in order to exercise

their right to vote.

       6.     Recognizing these serious and imminent dangers, Puerto Rico’s

Legislative Assembly passed a Joint Resolution in June 2020 expanding the

categories of individuals eligible for early voting for the primaries to include, among

others, individuals with compromised immune systems and senior citizens, defined

by the Legislative Assembly as individuals over 60 years of age.            The Joint

Resolution also authorized the Commission to adopt any policies and practices

targeted at protecting the health and safety of voters, and postponed the date of

Puerto Rico’s primaries to allow the Commission time to implement the necessary

health and safety measures.

       7.     Shortly thereafter, Governor Wanda Vázquez-Garced signed into law

the Código Electoral de Puerto Rico 2020 (“Election Code”)—applicable to the

general election in November and all subsequent elections—which, for the first time,

authorized the Commission to allow early voting by mail. The Election Code also

created additional categories of voters eligible for absentee and early voting—which

did not include senior citizens—and authorized the Commission to further expand

eligibility at its discretion.

       8.     Despite these authorizations, the Commission has been entirely silent

as to what protective health measures it will adopt for the general election in


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November, if any. This is so notwithstanding the recent surge in COVID-19 cases

on the island and predictions of even more infections in the fall, and despite

disastrous overcrowding and long wait times that occurred during Puerto Rico’s

primary elections. Without any protective measures, Plaintiffs will be forced to face

similar, if not larger, crowds in order to vote in person for the general election on

November 3, or accept disenfranchisement.

      9.     Plaintiffs’ constitutional right to vote cannot be conditioned on their

willingness to subject themselves, their families, and their communities to a

heightened risk of COVID-19. This is particularly true when the policies forcing

senior citizens to vote in person serve no compelling legitimate state interests.

      10.    Plaintiffs therefore seek a temporary restraining order, preliminary and

permanent injunctions, and a declaratory judgment permitting Puerto Rico’s senior

citizens (defined, as the Legislative Assembly has, as individuals over sixty (60)

years of age), to vote early or by absentee ballot in the November 2020 general

election.

                         JURISDICTION AND VENUE
      11.    The action arises under the First and Fourteenth Amendments to the

U.S. Constitution and is brought under 42 U.S.C. § 1983 to seek injunctive and

declaratory relief for violations of constitutional rights. This Court therefore has




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jurisdiction over the subject matter of this action pursuant to 28 U.S.C. § 1331 and

28 U.S.C. § 1343.

        12.   This Court has personal jurisdiction over Defendant Comisión Estatal

de Elecciones, an authority and/or agency and/or a public or quasi-public corporation

by virtue of the Enabling Act number 4 of December 23, 1977, as amended, with

sufficient authority to sue and be sued. The Commission is located in Puerto Rico.

        13.   This Court has personal jurisdiction over Defendant Juan Dávila-

Rivera, who is an elected or appointed government official and resides in Puerto

Rico.

        14.   Venue is proper in this District under 28 U.S.C. § 1391 because

Defendants reside in this District and because the events and omissions giving rise

to Plaintiffs’ claims occurred in this District.

        15.   This Court has authority to issue both declaratory and injunctive relief

pursuant to 28 U.S.C. §§ 2201 and 2202.

                                       PARTIES
        16.   Plaintiff Belia Arlene Ocasio is a 67-year-old U.S. citizen who lives in

San Juan, Puerto Rico. She is lawfully registered to vote in Puerto Rico. Ms. Ocasio

has voted in person in Puerto Rico all of her life, and has voted in every general

election since 1971. Ms. Ocasio has also voted in every primary election of

consequence, including the August 9, 2020 primary election. Ms. Ocasio is at risk


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of severe complications from COVID-19 because of her age and preexisting medical

conditions. Specifically, Ms. Ocasio suffers from asthma that causes her severe

chest pain and shortness of breath. She seeks to vote in the 2020 general election,

but under the existing rules, may do so only in person, potentially endangering her

health.

      17.     Plaintiff Efraín Colón Damiani is a 69-year-old U.S. citizen who lives

in San Juan, Puerto Rico. He is lawfully registered to vote in Puerto Rico. Mr. Colón

has voted in person in Puerto Rico all of his life, and has voted in every general

election since 1972. Mr. Colón, however, was unable to vote in the August 9, 2020

primary election because he was afraid of being exposed to COVID-19. Mr. Colón

is at risk of severe complications from COVID-19 because of his age and preexisting

medical conditions. Mr. Colón suffers from hypertension, for which he takes

medication. He seeks to vote in the 2020 general election, but under the existing

rules, may do so only in person, potentially endangering his health.

      18.     Defendant Comisión Estatal de Elecciones (“the Commission”) is the

government agency that oversees and manages elections in Puerto Rico. The

Commission is tasked with guaranteeing the right to all voters to exercise their vote

in a democratic electoral process.

      19.     Defendant Juan Dávila-Rivera is the current President of the

Commission.


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                           FACTUAL BACKGROUND

I.      Transmission of COVID-19 and Public Health Guidelines
        20.    COVID-19, also known as SARS-CoV-2, is an infectious disease

caused by a novel coronavirus that has spread throughout the world at an alarming

pace.

        21.    The virus spreads very easily and in a number of ways. For example,

the virus can be spread through droplet transmission. In other words, when an

infected individual speaks, coughs, or sneezes, they expel droplets which can

transmit the virus to others in their proximity. COVID-19 is also aerosolized and

can be transmitted by inhaling contaminated tiny droplets that remain in the air.

Lastly, the virus is also known to be spread through the touching of contaminated

surfaces. Each infected individual is estimated to infect two to eight others, and

asymptomatic individuals may also transmit the virus to others.

        22.    COVID-19 transmission can occur in any location, but is particularly

likely indoors. Transmission via respiratory droplets occurs where there is close

contact between individuals, and the more closely a person interacts with an infected

individual and the longer that interaction, the higher the risk of COVID-19 spread.

Aerosolized transmission can occur even without physical proximity between

individuals, and is more likely to occur in enclosed spaces without adequate

ventilation.



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         23.   Because transmission of the virus can occur via environmental surfaces,

there is also risk of spread of the virus at any location where multiple individuals

touch surfaces.

         24.   The range of consequences from contracting COVID-19 is extensive.

Individuals who contract the virus typically present with a fever, cough, and

shortness of breath, which can escalate to respiratory failure, heart damage, and other

life-threatening complications.       Other individuals infected with the virus have

experienced muscle aches, headaches, chest pain, diarrhea, coughing up blood,

sputum production, runny nose, nausea, vomiting, sore throat, confusion, lack of

senses of taste and smell, and anorexia. While many infected individuals are entirely

asymptomatic, many others—including many senior citizens—have died from the

virus.

         25.   The CDC has classified older adults and those with underlying health

conditions as high-risk individuals. The CDC found that the risk for severe illness

from COVID-19 increases with age.1 Additionally, people with certain underlying

medical conditions may also be at increased risk from COVID-19, including those

affected by asthma or hypertension, amongst other conditions.2


1
    People at Increased Risk of Severe Illness: Older Adults, CENTERS FOR DISEASE CONTROL AND
    PREVENTION, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-
    increased-risk.html (updated June 25, 2020).
2
    People at Increased Risk of Severe Illness: People with Certain Medical Conditions, CENTERS
    FOR DISEASE CONTROL AND PREVENTION, https://www.cdc.gov/coronavirus/2019-ncov/need-

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          26.   In the approximately five months since the World Health Organization

(“WHO”) declared it a global pandemic on March 11, COVID-19 has ravaged the

United States. As of August 19, 2020, it has infected more than 5.4 million and

killed more than 170,000 people in the United States.3 Puerto Rico has seen at least

28,000 confirmed positive cases and over 360 confirmed deaths as of August 19,

2020, with more than 3,800 confirmed cases in the last seven days. Given limitations

in testing, these figures doubtless understate the real numbers of COVID-19 victims.

Nevertheless, Puerto Rico now ranks fourth in the United States for growth of cases

per capita as of August 17, 2020. 4

          27.   The Food and Drug Administration has not approved any medication

for the treatment of COVID-19, though potentially promising experimental

treatments are under investigation. Likewise, there is no generally available vaccine

for COVID-19, nor is one vaccine likely to become widely available before the

November 2020 general election.




    extra-precautions/people-with-medical-conditions.html (updated July 30, 2020); Coronavirus
    Disease (COVID19) Advice for the Public: Mythbusters, WORLD HEALTH ORGANIZATION,
    https://cutt.ly/dtEiCyc (last accessed Aug. 19, 2020) (“Older people, and people with pre-
    existing medical conditions (such as asthma, diabetes, heart disease) appear to be more
    vulnerable to becoming severely ill with the virus.”).
3
    Coronavirus in the U.S.: Latest Map and Case Count, N.Y. TIMES,
    https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html (last accessed
    August 19, 2020).
4
    Id.

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         28.    Thus, the only ways to limit the spread of the virus are self-isolation,

social distancing, frequent handwashing, disinfecting of surfaces, and the use of a

mask or face covering.

         29.    Unfortunately, the COVID-19 health crisis shows no signs of abating.

Outbreaks continue to explode around the United States, with a surge in cases linked

to the loosening of social distancing requirements in several states. Many public

health experts warn that because of the ease of transmission and lack of vaccine or

treatment, a further resurgence of cases in the fall and/or winter is “inevitable.”5

Others believe that resurgences of COVID-19 and continued community

transmission will likely continue throughout 2020 and into 2021, including in Puerto

Rico.

II.      COVID-19 in Puerto Rico
         30.    While efforts to control the COVID-19 infection rates in Puerto Rico

were initially successful, there has been a recent surge in COVID-19 cases. On

March 12, 2020, Puerto Rico Governor Wanda Vázquez-Garced issued an Executive

Order (before the confirmation of its first COVID-19 cases) declaring a state of

emergency in Puerto Rico and acknowledging that it was “necessary to devise an

action plan in conjunction with all the agencies in order to address this emergency


5
      Christina Maxouris, US Could Be in for ‘a Bad Fall and a Bad Winter’ If It’s Unprepared for
      a Second Wave of Coronavirus, Fauci Warns, CNN HEALTH (Apr. 29, 2020),
      https://rb.gy/xol1oc.

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as promptly and efficiently as required.” 6 One day later, on March 13, Puerto Rico

confirmed its first three cases of COVID-19.

       31.    On March 15, 2020, Governor Vázquez-Garced ordered the closure of

public and private nonessential operations, as well as a curfew on all citizens from

9:00 P.M. to 5:00 A.M. 7 Approximately two weeks later, on March 30, Governor

Vázquez-Garced imposed a strict 24-hour, 7 days-a-week lockdown, allowing

citizens to leave their homes between 5:00 A.M. and 7:00 P.M. only to receive or

provide essential services. 8

       32.    By April, Puerto Rico had fewer cases than any U.S state of a similar

size, which health experts attributed to Puerto Rico’s broad and swiftly implemented

quarantine program. 9

       33.    As a result, on May 21, 2020, Governor Vázquez-Garced passed an

Executive Order implementing the phased economic reopening of Puerto Rico,




6
    Executive Order of the Governor of Puerto Rico, Hon. Wanda Vazquez-Garced, OE-2020-020
    at 2 (Mar. 12, 2020).
7
    Executive Order of the Governor of Puerto Rico, Hon. Wanda Vazquez-Garced, OE-2020-023
    (Mar. 15, 2020).
8
    Executive Order of the Governor of Puerto Rico, Hon. Wanda Vazquez-Garced, OE-2020-029
    (Mar. 30, 2020).
9
    Jim Wyss, Puerto Rico Extends Coronavirus Lockdown through May 3 But Eases Nighttime
    Curfew, MIAMI HERALD (April 12, 2020), https://www.miamiherald.com/news/nation-
    world/world/americas/article241942531.html.

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which included the partial reopening of beaches, retail stores and other nonessential

businesses, albeit with certain occupancy limits. 10

           34.   On June 12, 2020, the Governor lifted the 24-hour, 7 days-a-week

lockdown and established a new, narrower lockdown, from 10:00 P.M. to 5:00 A.M.

The Governor also opened beaches to the general public and increased the permitted

occupancy for some nonessential businesses. 11

           35.   Shortly after the reopenings, Puerto Rico saw a dramatic spike in the

number of COVID-19 cases, with 3,710 confirmed cases in 30 days. 12 By the end

of June, the percentage of positive cases in Puerto Rico had increased ten-fold. 13

           36.   Due to the continued surge in the number of infections on the island, on

July 16, 2020, Governor Vázquez-Garced extended the modified lockdown schedule

until July 31 and restored a number of restrictions on nonessential businesses.14

           37.   The increase in infections also prompted other governmental

institutions to take additional health and safety measures directed at protecting the


10
     Executive Order of the Governor of Puerto Rico, Hon. Wanda Vazquez-Garced, OE-2020-041
     (May 21, 2020).
11
     Executive Order of the Governor of Puerto Rico, Hon. Wanda Vazquez-Garced, OE-2020-044
     (June 12, 2020).
12
     Id.
13
     Dánica Coto, Puerto Rico Rolls Back Openings Amid Spike in COVID-19 Cases, AP NEWS
     (July 16, 2020), https://apnews.com/bd17a761945be5900d7c78d79c74369b#:~:text=
     The%20island%20of%203.2%20million,%2Dfold%2C%20according%20to%20Dr.
14
     Executive Order of the Governor of Puerto Rico, Hon. Wanda Vazquez-Garced, OE-2020-054
     (July 16, 2020).

                                             12
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most vulnerable populations. On July 21, 2020, Puerto Rico’s Health Department

(the “Department”) issued Administrative Order No. 456, acknowledging that senior

citizens are especially at risk of contracting COVID-19, and adopting measures to

monitor, prevent and mitigate the spread of COVID-19 in hospices, retirement

homes and long-term residences in which senior citizens, among others, live.15

        38.    On July 31, 2020, Governor Vázquez-Garced passed an Executive

Order extending the modified lockdown schedule until August 15, 2020 and added

a 24-hour lockdown on Sundays (except to receive or give essential services),16

which was subsequently extended until August 21. 17

        39.    In response to the rapid increase in cases, on August 19, 2020, the

Governor announced extraordinary restrictions, including a full 24-hour lockdown

on Sundays except for certain essential purposes, the suspension of public

transportation, and fines for violations of mask mandates.18

        40.    This Court has likewise acknowledged the need for continued public

health measures to address the COVID-19 pandemic and has acted accordingly. On




15
     Administrative Order of the Department of Health of Puerto Rico, OA-456 (July 21, 2020).
16
     Executive Order of the Governor of Puerto Rico, Hon. Wanda Vázquez-Garced, OE-2020-060
     (July 21, 2020).
17
     Executive Order of the Governor of Puerto Rico, Hon. Wanda Vazquez-Garced, OE-2020-061
     (Aug. 15, 2020).
18
     Executive Order of the Governor of Puerto Rico, Hon. Wanda Vázquez-Garced, OE-2020-
     062 (Aug. 19, 2020).

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March 15, 2020, this Court continued all civil and criminal non-jury trials, hearings,

and conferences pending further notice and encouraged the use of video

teleconference or teleconferencing services for hearings.19 Recently, this Court

extended this continuance until September 7, 2020 and cancelled all court-hosted

naturalization events scheduled before September 7.20 This Court has also mandated

mask wearing for all employees and visitors. 21

III.    Voting Policies in Puerto Rico
        41.    Voting in Puerto Rico is governed by the Código Electoral de Puerto

Rico (“Election Code”), which is passed by the Legislative Assembly and signed

into law by the governor. The Election Code is a comprehensive set of rules that

aims to facilitate voters’ access to the polls, guarantee Puerto Ricans’ right to vote

and modernize the voting process. Pursuant to the Election Code, the Commission

is in charge of the organization and oversight of elections in Puerto Rico and is

tasked with issuing the rules for each election. Prior to June 20, 2020, when the



19
     Order Concerning Proceedings Before the U.S. District Court of Puerto Rico, In re Corona
     Virus (COVID-19) Public Emergency, Misc. No. 20-088 (Mar. 15, 2020),
     https://www.prd.uscourts.gov/sites/default/files/Misc.20-88%20Dkt.%203%203.15.2020.pdf.
20
     Second Amended Order Continuing Civil and Criminal Proceedings, In re Corona Virus
     (COVID-19)     Public     Emergency,       Misc.     No.  20-088  (July  17,  2020),
     https://www.prd.uscourts.gov/sites/default/files/Second%20Amended%20Order%20Extendi
     ng%20Court%20Closing%20Until%20Sept%207%202020.pdf.
21
     Notice from the Clerk No. 20-13, Policy on Mandatory Use of Face Masks or Face Coverings
     (May                                         11,                                   2020),
     https://www.prd.uscourts.gov/sites/default/files/documents/notices/Final%20Draft%20Notice
     %2020-13%20w.%20attach%20May%2011%202020.pdf.

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Governor signed into law Election Code 2020, the Election Code had not been

updated since 2011.

        42.     Under Election Code 2011, there were two very limited alternatives to

in-person voting on election day: absentee voting and early voting. Absentee voting

was the only mail-in voting option offered to Puerto Rican voters. It also applied to

a relatively small population of individuals. To be eligible for absentee voting, one

had to be physically outside of Puerto Rico on election day for a particular reason.22

        43.     Early voting—which still requires the voter to come into contact with

others—allows individuals to vote before election day. However, prior to the recent

amendment to the Election Code, those qualified for early voting were required to

fall within twelve categories, which included certain professions, those under the

custody of a penal institution, or admitted to hospitals or treatment centers.23

Importantly, neither the 2011 nor the 2020 Election Code make exceptions for senior

citizens.



22
     Accepted reasons to be physically outside of Puerto Rico include personnel on active duty,
     persons studying in an accredited educational institution, persons working in the Agricultural
     Employment Program, persons serving the diplomatic or foreign aid of the United States,
     relatives of those who fall into the aforementioned categories, crewmembers of air or sea
     carriers, persons confined in penal institutions domiciled in Puerto Rico at the time they were
     sentenced, employees of the Government of Puerto Rico outside of Puerto Rico on official
     business, athletes representing Puerto Rico, professionals and their relatives who must remain
     temporarily outside Puerto Rico, persons domiciled in Puerto Rico whose employers require
     them to provide services outside of Puerto Rico, and persons undergoing medical treatment
     outside of Puerto Rico and their relatives. Código Electoral de Puerto Rico (2011), at 130-32.
23
     Id. at 134-35.

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        44.     In response to the COVID-19 outbreak in Puerto Rico, on June 4, 2020,

the Legislative Assembly issued a Joint Resolution postponing the date of the

primary elections from June 7 to August 9, 2020.24 In the Joint Resolution, the

Legislative Assembly recognized the potential spread of COVID-19 at voting

locations and authorized the Commission to take all necessary measures to ensure

the safety and health of the voters for the primaries. The Joint Resolution also

expanded eligibility for early voting for the primaries to include (i) individuals over

sixty (60) years of age; (ii) those under quarantine due to testing positive for COVID-

19; (iii) individuals with chronic lung diseases or asthma (as verified by a qualified

doctor in Puerto Rico), (iv) persons with compromised immune systems (e.g., cancer

patients), (v) individuals who are morbidly obese, and (vi) other high risk individuals

and/or with vulnerable health conditions, pursuant to the World Health Organization

Recommendations. 25 The Joint Resolution applied only to the primaries and was

silent on any accommodations necessary for the general election in November.

        45.     Approximately two weeks later, on June 20, 2020, Governor Vázquez-

Garced signed into law the Election Code 2020, which officially expanded the

categories of people qualified to vote early in the general election to include

individuals who are in the hospital or require long-term care, have physical


24
     Section 1, Joint Resolution 556.
25
     Section 5, Joint Resolution 556.

                                          16
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impediments, medical conditions, or other mobility constraints. Senior citizens were

not included in the expanded categories. Importantly, however, the Election Code

also empowered the Commission to add to (but not subtract from) the listed

categories of voters eligible for early voting.

        46.    Unlike the Joint Resolution, the Election Code—which applies to the

November general election—specifically states that “all of the [listed] categories are

eligible for Early Voting or vote by mail.” 26 The Election Code also authorized the

Commission to adopt any additional measures necessary to ensure the rights of its

voters.

IV.     Puerto Rico’s Voting Policies Undermine its Senior Citizens’ Access to
        Voting
        47.    To date, the Commission has not announced any protective measures

for any voters—let alone senior citizens—for the November 2020 elections.

        48.    Any individuals seeking to vote who do not fall within any of the

Election Code categories for early or absentee voting must choose between two

evils: they can vote in person in the general election and risk contracting COVID-

19, or they can comply with social distancing and best practices and forgo their

constitutional right to vote.




26
     Código Electoral de Puerto Rico 2020, Ley Núm. 58-2020 (June 20, 2020), Artículos 9.37.

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        49.    Given the recent surge of infections on the island, the risk of contracting

COVID-19 at voting locations—particularly for those most vulnerable to COVID-

19—is far reaching and not speculative.

        50.    According to the Census, as of July 1, 2019, more than 20% of Puerto

Rico’s population—around 790,000 individuals—is sixty-five years old or older.27

Therefore, hundreds of thousands of senior citizens are at risk of either contracting

COVID-19 if forced to vote in person for the general election in November or losing

their right to vote entirely.

        51.    Voting locations, including those provided in Puerto Rico, are prime

areas for increased transmission of COVID-19 due to (i) the close proximity of a

large number of individuals in a limited space and (ii) the large number of common

surfaces that multiple people touch.

        52.    Due to these risks, the CDC has issued guidelines recognizing that

“[t]he more an individual interacts with others, and the longer that interaction, the

higher the risk of COVID-19 spread.”28 The CDC recommends that states “offer




27
     U.S. Census Bureau, Quick Facts: Puerto Rico, https://www.census.gov/quickfacts/PR (last
     visited Aug. 19, 2020).
28
     Deciding to Go Out, CENTERS FOR DISEASE CONTROL AND PREVENTION,
     https://www.cdc.gov/coronavirus/2019-ncov/daily-life-coping/deciding-to-go-out.html (last
     updated July 30, 2020).

                                              18
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alternative voting methods that minimize direct contact and reduce crowd size

polling stations,” by adopting, for example, “alternatives to in-person voting.” 29

           53.   The danger of large-scale in-person voting during the COVID-19

pandemic is illustrated by the Wisconsin presidential primary election held on

April 7, 2020, which drew more than 400,000 in-person voters, owing in part to the

state’s failure to provide mail ballots with sufficient time for many voters to return

them. 30 In the two weeks following the election, 71 individuals who had either voted

in person or worked the polls tested positive for COVID-19. Even more alarmingly,

an analysis by university economists has preliminarily found that, controlling for

other potentially relevant factors, Wisconsin counties with more in-person voters per

voting location had higher rates of positive COVID-19 tests, while counties with

more mail voting had lower positive COVID-19 test rates—patterns that emerged in

the weeks following the primary. 31

           54.   These same dangers have already visited Puerto Rico. During the first

week of August, Puerto Rico held its early voting and general voting for its



29
     Considerations for Election Polling Locations and Voters, CENTERS FOR DISEASE CONTROL
     AND PREVENTION, https://www.cdc.gov/coronavirus/2019-ncov/community/election-polling-
     locations.html (last updated June 22, 2020).
30
     Chad D. Cotti et al., The Relationship Between In-Person Voting, Consolidated Polling
     Locations, and Absentee Voting on COVID-19: Evidence From the Wisconsin Primary,
     Working Paper 27187, Nat’l Bureau of Econ. Research (May 2020),
     https://www.nber.org/papers/w27187.
31
     Id.

                                            19
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primaries. On August 1 (the day designated for early voting for the primaries), late

ballots plagued Puerto Rico’s voting locations. Many counties did not receive

ballots until hours later. With over 21,000 early voters, the late ballots resulted in

long and crowded lines filled with the same at-risk communities that early voting

was adopted to safeguard. 32 To address the disenfranchisement that occurred, those

unable to vote during the early voting period were allowed to vote on the day of the

primary (August 9), with “preferential treatment” and a “fast lane” to be provided to

accommodate these voters.33 While this accommodation was made to ensure that

citizens had an opportunity to exercise their right to vote, it comes at the expense of

their health and safety—these voters (those identified as particularly at-risk of

exposure by the Legislative Assembly) were forced to travel to polling locations and

be exposed to others twice, and come into contact with even larger crowds at the

primaries, further increasing their risk of infection. 34




32
     Frances Rosario, Arranca Con Problemas el Voto Adelantado Para el PNP, PRIMERA HORA
     (Aug. 1, 2020), https://www.primerahora.com/noticias/gobierno-politica/notas/arranca-con-
     problemas-el-voto-adelantado-para-el-pnp/ (“Entre otros problemas, Cruz señaló que en Ceiba
     las personas sí se le han conglomerado en espera de poder votar, lo que representa un riesgo
     de contagio. Es que la mayoría de los electores son envejecientes.”).
33
     La CEE Permitirá la Continuación del Voto Adelantado del PNP Durante las Primarias del 9
     de         Agosto,         EL NUEVO           DÍA           (Aug.          1,         2020),
     https://www.elnuevodia.com/noticias/politica/notas/la-cee-permitira-la-continuacion-del-
     voto-adelantado-del-pnp-durante-las-primarias-del-9-de-agosto/.
34
     Patricia Mazzei, Botched Primary Election Creates New Crisis in Puerto Rico: ‘This Is a
     Travesty’, N.Y. TIMES (Aug. 10, 2020), https://www.nytimes.com/2020/08/10/us/puerto-rico-
     election.html.

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        55.    Voters who sought to cast their ballots in-person during the August 9,

2020 primaries encountered similarly perilous issues. Many voters who traveled to

polling stations reported waiting in crowded lines for hours, as ballots were delayed

in arriving at polling stations. 35 The delays were so severe that many precincts

closed their polling stations early, completely disenfranchising many and resulting

in a number of local lawsuits.

        56.    In response to a preliminary injunction motion, the Supreme Court of

Puerto Rico ultimately found that the “delays and administrative complications”

were “the product of the gross negligence of the directors of the Election

Commission and the Special Commission for the Primaries” and issued a ruling

directing the Commission to resume the primaries on August 16.36

        57.    The steady increase in COVID-19 coupled with Puerto Rico’s failure

to implement efficient safety measures at its voting locations, necessitate the

adoption of early and absentee voting alternatives for senior citizens for the general

elections on November 3.




35
     Cristina Corujo, Puerto Rico Primaries Turn Chaotic After Ballot Delay, Residents Demand
     Answers, ABC NEWS (Aug. 12, 2020), https://abcnews.go.com/Politics/puerto-rico-primaries-
     turn-chaos-ballot-delay-residents/story?id=72285843.
36
     Pedro Pierluisi-Urrutia y Otros v. Comisión Estatal de Elecciones, 2020 PRSC 82, at 3 (P.R.
     Aug. 12, 2020).

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V.    Defendants’ Interests Do Not Justify Denying Senior Citizens Access to
      Early and Absentee Voting for the November General Election
      58.    Defendants do not have a compelling interest in maintaining the

existing early and absentee policies for the general election.        As such, these

restrictions are unnecessarily burdensome for Puerto Rico’s senior citizens.

      59.    Defendants cannot have an interest in maintaining the early and

absentee voting restrictions for the general election because the Joint Resolution and

the Election Code have already made drastic changes to these policies. The Joint

Resolution, which acknowledged the potential health risks associated with in-person

voting, directed the Commission to allow senior citizens and other medically

vulnerable individuals, among others, access to early voting for the primaries. While

the current Election Code does not explicitly extend access to early voting to senior

citizens, it nevertheless greatly expanded early voting for the general election and

authorized the Defendants to further expand the eligible categories as necessary to

ensure Puerto Ricans their right to vote. For the first time, the Election Code also

authorized the Defendants to allow early voting to occur by mail.

      60.    Any administrative burden in implementing these policy changes for

the general election will be minimal. Since the Joint Resolution significantly

increased the number of voters eligible for early voting, the Commission already had

to prepare for these accommodations ahead of the primaries. These protocols and

facilities used for the primaries can be easily adopted for the general election, which

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is still more than two months away. Similarly, as the Election Code expanded the

number of the persons eligible for absentee (mail-in) voting for the general election,

the Commission will also have to prepare for this increase in mail-in votes and can

address any concerns regarding senior citizens’ access to vote by mail during this

process.

      61.    Even if expanding early and absentee voting were not already part of

the Commission’s legal mandate, none of the anticipated administrative burdens

justify the deprivation of Puerto Rico’s senior citizens’ constitutional right to vote

in the general election.

      62.    Unfortunately, despite the Governor and Legislative Assembly’s clear

instruction to take the actions necessary to protect the health and safety of its voters,

the Commission has failed to take any action to ensure that Puerto Rico’s senior

citizens can exercise their constitutional right to vote without jeopardizing their own,

their families’, and/or their community’s health for the general election.

                                CAUSE OF ACTION

 Undue Burden on the Right to Vote in Violation of the First and Fourteenth
   Amendments As Applied to Elections During the COVID-19 Pandemic
                            (42 U.S.C. § 1983)

      63.    Plaintiffs re-allege and incorporate by reference all prior paragraphs of

this Complaint as though fully set forth herein.




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      64.    Eligible individuals have a fundamental right to vote under the First and

Fourteenth Amendments of the U.S. Constitution. As an initial matter, “it is clear

that the voting rights of Puerto Rico citizens are constitutionally protected to the

same extent as those of all other citizens of the United States.” Rodriguez v. Popular

Democratic Party, 457 U.S. 1, 8 (1982). The constitutional right to vote “is of the

most fundamental significance under our constitutional structure.” Burdick v.

Takushi, 504 U.S. 428, 433 (1992). When analyzing the constitutionality of a

restriction on voting, the Court must “weigh the ‘character and magnitude of the

asserted injury to’ the voters’ rights against the ‘precise interests put forward by the

State as justifications for the burden imposed.’” Common Cause R.I. v. Gorbea, No.

20-1753, --- F.3d ---, 2020 WL 4579367, at *1 (1st Cir. Aug. 7, 2020) (quoting

Anderson v. Celebrezze, 460 U.S. 780, 789 (1983)).

      65.    In light of the COVID-19 pandemic, Puerto Rico’s voting policies and

restrictions on early and absentee voting, as applied to the November 2020 general

election, constitute a severe burden on senior citizens’ right to vote.          These

requirements will likely prevent thousands of eligible senior citizens from casting

ballots during the general election because it will force them to choose between

exercising their constitutional right to vote safely or violating social distancing

guidelines and exposing themselves, their families, and their communities to

contracting COVID-19.


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      66.    Puerto Rico has no interest sufficient to justify not expanding access to

early and absentee voting to its senior citizens. Indeed, the Legislative Assembly

already expanded early voting to senior citizens for the primaries and the newly

enacted Election Code (for the first time) affirmatively allows for early voting to be

completed by mail for the general election. Any administrative burden associated

with implementing these accommodations for the general election pales in

comparison to the severe burden imposed by the current voting policies on its senior

citizens during the pandemic.

      67.    Therefore, Defendants, acting under color of the law, have and will

continue to deprive Plaintiffs of rights secured to them by the First and Fourteenth

Amendments to the U.S. Constitution—namely, the fundamental right to vote—and

protected by 42 U.S.C. § 1983 by enforcing the challenged restrictions to early and

absentee voting.




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                              REQUEST FOR RELIEF
             WHEREFORE, Plaintiffs respectfully request that the Court:

      1.     Enter a declaratory judgment that the Commission’s failure to allow

senior citizens (individuals over sixty (60) years of age, as defined by the Legislative

Assembly) access to early and absentee voting for the general election in November,

in the midst of a deadly pandemic, violates the First and Fourteenth Amendments;

      2.     Enter temporary, preliminary, and permanent injunctions directing

Defendants, their agents, employees, and successors, and all those persons acting in

concert or participation with them to implement policies allowing senior citizens to

safely vote in the November 2020 general election, by:

             (a)    Identifying voters over sixty years of age as individuals eligible

to vote by voto adelantado during the pendency of the COVID-19 pandemic;

             (b)    Identifying voters over sixty years of age as individuals eligible

to vote by voto ausente (mail-in ballot) during the pendency of the COVID-19

pandemic; and

             (c)    Updating all public education materials, including written,

online, and on-air, to reflect the above eligibility rules.

      3.     Grant such other relief as the Court may deem just and proper.




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Dated: August 20, 2020


                                         Respectfully submitted,

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                                  **Pro hac vice application
                                  forthcoming




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